                     CASE 0:12-cr-00295-PAM-AJB Doc. 22 Filed 12/11/12 Page 1 of 1
A0 442 (Rev. 5/93) Wmmt for Anest
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                                     UNITED STATES DISTRICT COURT                                           )r'\'   t.:L llit1

                                                    District of Minnesota                   ,'


           LTNITED STATES OF AMERICA

                                                                WARRANT FOR ARREST
                                    V.                            tg4t.t?)4Os1/-T
                                                                CASE NUMBER: CRl2-295 (2) PAM/AJB

           Julie Ann Campana


  To: The United          States Marshal
           and any Authorized United States Officer


           YOU ARE HEREBY COMMANDED to arrest: Julie Ann Campana

           and bring him or her forthwith to the nearest Magistrate Judge to answer an Indictment charging him
           or her with:
                 Count 1: 18:2 and 1951 Interference with Commerce by Robbery
                 Count 2: l8'2 and924(c)(1XA) Using, Carrying, Possessing and Brandishing a Firearm During
                 and in Relation to a Crime of Violence

           Ordered   by:                 Donovan W. Frank, United States District Court Judge.



                                                                December 3,2012 at St. Paul, MN

                              bar Fannemel, Deputy Clerk

                                                           RETURN


  This warrant was received and executed with the arrest of the above-named defendant at

  Date     Received:                                           Date of Arrest:



  Name and Title of Arrestins Officer                          Signature of Arresting Officer



                                                                  ARRESTED       ON
                                                                  ARRESTED BY
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